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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA

                 Plaintiff,

  vs.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

              Defendants.
  ______________________________/


                       GOVERNMENT’S SUPPLEMENTAL RESPONSE
                          TO STANDING DISCOVERY ORDER

         The United States of America, by and through the Special Counsel’s Office, files this

  pleading to supplement prior responses (ECF Nos. 30, 59, 80) to the Standard Discovery Order,

  issued on June 13, 2023 (ECF No. 16), and to provide notice of a correction to the record on

  discovery reported at the July 18, 2023 status hearing.   This pleading complies with Local Rule

  88.10 and Federal Rule of Criminal Procedure 16.

         Per the protective order issued in this case (ECF No. 27), the Government has provided

  two prior productions of discovery to Defendants Donald J. Trump and Waltine Nauta.    See ECF

  Nos. 30, 59, 80.   On July 31, 2023, the Government provided a third production of unclassified

  discovery to counsel for Defendants Trump and Nauta (“Production 3”).          Once counsel for

  Defendant Carlos De Oliveira enters an appearance, the Government will promptly provide the

  three productions to his counsel.   Production 3 includes, inter alia, additional CCTV footage;

  location and other data obtained pursuant to a search warrant; additional memorialization of
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  witness interviews; and grand jury transcripts.      To facilitate review, the Government also

  identified and separately produced for the defense “key” excerpts from the CCTV footage.

         Included in Production 3 is additional CCTV footage from The Mar-a-Lago Club that the

  Government obtained from the Trump Organization on May 9 and May 12, 2023, in response to a

  grand jury subpoena served on April 27.   On July 27, as part of the preparation for the superseding

  indictment coming later that day and the discovery production for Defendant De Oliveira, the

  Government learned that this footage had not been processed and uploaded to the platform

  established for the defense to view the subpoenaed footage.    The Government’s representation at

  the July 18 hearing that all surveillance footage the Government had obtained pre-indictment had

  been produced was therefore incorrect.     See 7/18/2023 Tr. at 8.    With this production, which

  also contains CCTV footage obtained after the original indictment was returned that pertains to

  the new obstruction allegations in the superseding indictment, the Government has produced all

  the CCTV footage it obtained during its investigation.   With the completion of Production 3, the

  Government has also now disclosed all unclassified memorialization of witness interviews

  finalized by today’s date and all grand jury transcripts in the Government’s possession.

         The Government responds to the specific items identified in the standing discovery order

  as set forth below.

         B.      DEMAND FOR RECIPROCAL DISCOVERY: The United States requests the
                 disclosure and production of those items described and listed in paragraph B of the
                 Standing Discovery Order, and as provided by Federal Rule of Criminal Procedure
                 16(b).

         C.      The Government is providing information or material known to the United States
                 that may be favorable to either defendant on the issues of guilt or punishment within
                 the scope of Brady v. Maryland, 373 U.S. 83 (1963), or United States v. Agurs, 427
                 U.S. 97 (1976).

         D.      The Government has disclosed and will continue to disclose any payments,
                 promises of immunity, leniency, preferential treatment, or other inducements made


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                to prospective Government witnesses, within the scope of Giglio v. United States,
                405 U.S. 150 (1972), or Napue v. Illinois, 360 U.S. 264 (1959).

         J.     The Government’s discovery productions include the grand jury testimony and
                recordings of witnesses who may testify for the Government at the trial of this case.

         The Government is aware of its continuing duty to disclose such newly discovered

  additional information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules

  of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

                                                Respectfully submitted,

                                                JACK SMITH
                                                Special Counsel

                                        By:     /s/ Jay I. Bratt
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 31, 2023, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record via transmission of Notices of Electronic Filing generated

  by CM/ECF.

                                               s/ Julie A. Edelstein
                                               Julie A. Edelstein
                                               Senior Assistant Special Counsel




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